 

Case: 1:18-cv-02168 Document #: 32-2 Filed: 01/15/19 Page 1 of 1 PagelD #:151

 

 

‘ {LLINOIS DEPARTMENT OF CORRECTIONS ‘B 6 f %
, & RESPONSE TO COMMITTED PERSON'S GRIEVANCE
| Grievance Officer’s Report |
Date Received:6/05/17 Date of Review:7/20/17 | Grievance#1468
Committed Person: Terrance Woods REC FE I a, ED ID #: B15395
Nature of Griavance: Conditions AUG Q 9 2017

ADMINISTRATIVE
REVIEV: BOARD
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Facts Reviewed: Offender claims on a grievance dated 4/05/17 that the mold levels are so high In the School/Law Library
Building that It can be seen and smelled. Offender claims that he has been enrolled In school for approximately six years on
and off. Offender claims that on 4/05/17 he was examined by the optometrist due te experiancing eye Irritation, pain,
changes in vision, rednese and swelling of his eye lids. Offender claims that the optometrist informed him the veins In hia left
eye are more enlarged that normal and asked if he was around mold because mold Is what fs causing his eye Irrita

Offender claims that he wes prescribed Ketotifen Funarate Ophthalmic Solution and artificial tears. Offender ci: that mold
is the cause of his eye issue and that mold Is present throughout the facility.

Counselor Butier-Winters responded “If grievant felt mold present in his living unit or any area where designated th reside for
any duration of time he should contact Unit staff so a work order can be submitted. Griavant has not provided any/pertinent
documentation that maid caused his eye condition.”

Grievance Officer finds that according to 360 offender has been at Statevilie C.C. since 4/08/03. The Offender O, ic
Examination form DOC0081 provided by the offender statea “Suspect mold as etlology of eye allergies.” While th

etrist noted that mold may be the cause of offender's eye condition he did not definitively state that It was. There Is no
way to determine where offender may have come Inte contact with mold.

Recommendation: Based upon a total review of all available information it is the recommendation of thls Grisvanca oma} that this
offender's grievance be DENIED dus to lack of substantiation that mold in the facility caused his eye condition. Offender Is jadvieed to
sign up for sick callin order to address any medical issues or concems. i

David Mansfield, CCI = hinricl Mo. [uth ae

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(Attach a copy of Committed Persan’s Grievance, Including counselor's response if applicable)

 

 

| Chief Administrative Officer's Response |

Date Received: 1 ~ 2%- ' 1 PAL i concur C1 ¢ donot concur 1 Remand
Comments:

 

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| Committed Person’s Appeal To The Director |

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| am appaaling the Chief Administrative Officer's decision to the Diractor. | understand this appeal must be submitted within 30 days after he date af the

Chief Administrative Officer's decision to the Administrative Review Board, P.O. Box 19277, Springfield, iL 62784-0277. (Attach a complate Sopy ofthe
originst grievanca, Including the counselor's reaponse, if appticeble, and eny partinent documents.)

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Commitied Person's Signature

 

 

 

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PLAINTIFF'S
EXHIBIT

    
 
